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                                                                                                                                   1ft. 1/;,¥/11
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURJ
                                                                                                                                        /2', o-i..
 Judge or Division:                                                 Case Number: 1916-CV01667
 JALILAH OTTO
 Plaintiff/Petitioner:                                              Plaintiff's/Petitioner' s Attorney/ Address
 CRA IG ADAMS                                                       RAYMOND EUGENE SALVA
                                                                    221 WEST LEXINGTON AVENUE
                                                                    SUITE 200
                                                             vs.    INDEPENDENCE, MO 64050
 Defendant/Respondent:                                              Court Address:
 CITY OF KANSAS CITY, MISSOURI                                      415 E 12th
 Nature of Suit:                                                    KANSAS CITY, MO 64106
 CC Breach of Contract                                                                                                                  rDate File Starnn)

                                                              Summons in Civil Case
      The State of Missouri to: CITY OF KANSAS CITY, MISSOURI
                                Alias:                                                           PRIVATE PROCESS SERVER
    SERVE MAYOR: SLY JAMES
    414 E. 12TH STREET
    KANSAS CITY, MO 64106


         COURT SEA L OF                     You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If yo u fail to
                                      file your pleading, judgment by default may be taken agains       for the r ef demanded in the petition.
                                                    I 8-JAN-201 9
                                                         Date

        JACKSON COUNTY                Further Information:

                                                            Sheriff's or Server's Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
      D delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
      D leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defend           espondent with
          - - - - - - - - - - - - - - - - - - -- a erson of the Defendant's/Res                          ndent's famil ov r the age of 5 years who




                                   f Sheri   or Server
                                   Must be sworn before a notary public if not s
                                   Subscribed and sworn to before me on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (date).
             (Seal)
                                   My commission expires: _ _ _ _ _ _ _ _ __
                                                                              Date                                           No     Public
      Sheriff's Fees
      Summons                      $._ _ _ _ _ __
      Non Est                      $_ _ _ _ _ _ __
      Sheriffs Deputy Salary
      Supplemental Surcharge       $_ _"'-'10'-.0"-"0'-----
                                               '-'
      Mileage                      $                        L _ miles @ $. _ _ per mile)
      Total                        $ _ _ _ _ _ __
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Su reme Court Rule 54.




OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 19-SMCC-700           I of 1Civi l Procedure Form No . 1, Rules 54.01 - 54.05 ,
                                                                                                              54.13, and 54.20; 506.120- 506.140, and 506.150 RSMo
                      Case 4:19-cv-00093-WBG Document 1-1 Filed 02/08/19 Page 1 of 13
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court's website for instructions on how to assemble the service packets at:

16thcircuit.org ---+ Electronic Filing Information---+ Required Documents for Service- eFiled cases---+
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




           Case
Revised 7/3/13    4:19-cv-00093-WBG
                          Service InformationDocument
                                              - Attorney 1-1 Filed 02/08/19 Page 2 of 13
                                                                                           1916-CV01667


                IN               UIT COURT OF JA K ON                   0      TY,MI      O RI
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                                                ATKAN A         IT                                                 Q)
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                                                                                                                   (/)
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 CRAT ADAM and
                                                                                                                   ;,;;:
 J    PH W. KNOPP, III individuall and                                                                             Q)
                                                                                                                   ::J
 on behalf f other imilarly situated                                                                               (/)
                                                                                                                   Q)
                                                                                                                   (/)

                                                               as No.                                              ()
                             Plaintiffs                                                                            ~
           v.
                                                              n· .                                                 c....
                                                                                                                   Q)
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                                                                                                                   C
                                                                                                                   Q)
 THECl Y                     A     ITY,                                                                            -:2
 MI       OURI,                                                                                                    .....
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                             D f1 ndant.                                                                           .....
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                                  COLLE TIVE AC IO                P

                M    NOW Plaintiff: ,     raig     dam and Joseph W. Knopp, III by and through their

attorneys und rsi gned, and on behalf of th mselve and others imilarly ituat d as set forth h r in,

bring the following Coll -cti e            ction Petition against Defendant the          ity of Kansa       ity,



et. eq.

          Defendant City employ            firefight r   t   pr vide fire suppr ssion res ue hazardous

material and em rgency medical ervices. At rele ant tim s                      rtain firefighters pursu d and

  mpleted electiv certifications whi h ntitled th m to a higher, 11 sp ciaJty'' rat o pay. The               ity

then r quired these firefighters to work in excess of th wor                ch dule set forth in the   olle tive

Bargaining Agreement Between City of Kan as City, Mi ouri and International As ociation of
                                           II
Fighters, Local 42 (hereinafter th               A") without paying wages at a rat of at least one and on -

half times the pay rate at which those fi refighters were empl y d. In tead, the City applied the

 pecialty rate fi r regular tim only, and the pre-certification (lower rate for overtime. The e




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  tions were carried ut in i lation of the L A and the               BA. Plaintiff:         tor    er unpaid
                                                                                                                 c...
                                                                                                                 Dl
                                                                                                                 (")
overtime wage on behalf of th mselve and all imilarly situated fi efighters.                                     7'
                                                                                                                 C/J
                                                                                                                 0
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                                     JURl DI          ION        DVE UE                                          ;;,;;
                                                                                                                 Dl
                                                                                                                 :::,
                                                                                                                 C/J
         1.     The FL       authorize      urt actions by mplo ees t r               r damage for violations    Dl
                                                                                                                 C/J
                                                                                                                 Q
o the FL A wag and hour pro isions. This ourt has j uri diction over the                     tmpaid overtime    -<"I
                                                                                                                 c...
                                                                                                                 Dl
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compen ation laims brought b the Plaintiff: and thos similarly ituated, as expre l pro ided                      C
                                                                                                                 Dl
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         2.     Venue in this        ourt i appropri t pur uant to           508.010 R Mo. in that th            co


Plaintiffs wer fir t injured due t the unla fol a t of the              ity in Kansas it , Jack on County

Missouri.

                                                  P    .TIE

         3.     Plaintiff:   rai.g   darns and Joseph W. Knopp, I            ork as firefighter for th   ity.

The terms and                  f th ir employm nt, including comp nsation ar determined by the

   A.

         4.     The Plaintiff] bring      aunt I of this lawsuit as a c 11 tj e acti n under the

on b half of themselves and all ther similarly situated firefi ghter           mployed b the City within

the la   thre   ar to redr ss the it 's wil1 ul fai lure and r fi al t pay ov rtim wage to whi h

th Plaintiffs and other      imil rly ituated ar       ntitl d .

         5.     The Plaintiffs and othe          similarly situat d (            Jy "Plaintiffs") con nt to

 ecome plaintiffi · thi a tion pursuant to 29            .. C.     21 (b) a e id n ed by the "Con nt to

 ue" documents attached to thi         ollecti    Action P titi n as E hi bit A.




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         7.     The     ity i a municipal corporation organized W1der th law           f the tat of
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    issouri with its principal office locat d t 414 East 121h trc t Kan a     ity, Mis ouri 64106 and
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         8.       he    ity is an " mpl   r" as d fin d by 29 U.     . § 20 (d).                         Ill
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                                    GENERAL                                                               I
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                                                                                                         Ill
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         9.     The Plaintiff: are employed b             ity and that    mplo menl r latio hip i        C
                                                                                                         Ill
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g v m d by th          BA, which ets forth am ng ther things provi ions c           ming wag     and     0
                                                                                                         N
                                                                                                         ....co
                                                                                                         0

o    rtime.

         10.    As to regular w rk schedules the        A pro id :

         The r gular work sch dule for p r nnel a signed to 24-h ur hi is shall b a
         folio . m 1 ee shall wor n a 3- hi sy tern with 14 non-working days],
         and the r gular w rkwe k shall a crage 49.5 h ur per we k.

         CB atp. 2.

         11.        t o et1ime, the CBA pr v ·de in rel vant part:

         Th normal FL Aw rk peri d for employ         a igned to 24-hour shift hall b
         tw nty- ight (28) d y . mployee on 24-hour hift hall receive ov rtime pay at
         the rat oftim -and- ne-half for all hour actually worked in c s f212 hours
         in any 28-day " r p riod.

         Id.

         12.                further provid   an in entive program fi r empl ye       btaining various

certification related to fir    uppre ioo. Under th progr m , certified fir fighters are guarant d

addition pay of thre to t n p re nt (3-10% above whal his/her al ry would otherwise b , to wit:

         B. pecial Duty A ignment and C rtificati n Pay:

         1. Memb r of th Hazard u Materials earn who achieve and maintain th
         operation I level of training and certification shall receive additional pay of thre
         percent (3%) bo what his/her alary wo uld otherwise b .




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      2. M mbers of the l azard u Materials T am who achiev and maintain the
      technical le el of training and rtification shall I1 ceiv d itional pay of fi e                c...
                                                                                                     Ill
                                                                                                     ()
      percent (5% abov what his/her alary would therwise b . In addition, th                         7'
                                                                                                     (/)
                                                                                                     0
      HAZMAT Training fficer will receive additional pa of ten p rcent 10%) b e                      :::J

      what his/her alary ould oth rwi e be.                                                          ;::,;;;
                                                                                                     Ill
                                                                                                     :::J
                                                                                                     (/)
                                                                                                     Ill
      3. Membe as igned to the ARF          i i ion including certified eligible r onnel             (/)

      on Pump r 16 who achieve and maintain the required ARFF training and                           ()
                                                                                                    ~
       ertification shall r ceive additional pay of five percent 5%) abo e what their                  I
                                                                                                     c...
      salary w uld otherwi be, c pt or the Training fficer who hall r ceive                          Ill
                                                                                                     :::J
      additional pay often p rcent (1 %) ab ve what his/her alary would oth rwi e be.                C
                                                                                                     Ill
      Memb rs a igned t Pumpers 8 9,25,102                and any additional compa11ie              '<.....
      wh ar a igned following the execution of thi agr m nt that achi v               nd             0
                                                                                                     N
      maintain the required ARFF training and certification shall r cei e additional pay             .....
                                                                                                     0

      of thre p      nt ( %) above what their alary would oth rwi b .                                co


      4. Per onn l assigned to umper 16 hall r     cei    additi nal pay of five p rcent
      (5%) abo e whattheir alary would otherwis    b if they ha e participated in ARFF
      training.     b     f th R scu Division      sh 11 recei e additional pay f five
      percent (5%) abo e what their salary would   th rwi be.

       5. Members transferred to the    itiou of In truct r shall r eive a ten p rcent
       (10%) p cialty pay. The position c v red ar Instructor within the Profe ional
       Dev lopm nt ur au, Hazmat Division Instructor ARF            ivision In tructor,
       Rescu Equipm nt Coordinator and Fire uipment o rdinator.

       6. Qualified members eligible to erve a FT                     fi e percent (5%
       specialty a for tim sp nt actual I working a

       7. An E T regularl a igned to maintenan e of c diac monit rs, hydraulic cot ,
       and other technical m di al equipment hall rec i ea ten per nt (10% differential
       inc ntiv pa . The current individual a igned to that positio will ntinue to fill
       that assignm nt. A futur vacancy will b ffered to E T's bys niorit · .

         . redentialed cro trained dual roll m mbers p -nnan ntly a igned to a cross
       trained dual rule A     ompany hi h includes a combined suppre i n Unit
        P ump r r Rescue) and quad ambulance) hall rec ive thr p re nt (3%)
       sp cialty pay.

       Id. at pp. 68-70.

       13.    111    ity br ached the   B   by failing to pay its ertifi d firefight rs ti r work

peJformed in exc ss of 212 hours p r 28-day work p riod at a rate of at least on and one-half




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      Case 4:19-cv-00093-WBG Document 1-1 Filed 02/08/19 Page 6 of 13
times the specialty r t ; rath r the City cal ul t d the e emplo ccs'                  vertime at a lov         pr -
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                                                                                                                        lll
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certification r t .                                                                                                     ;,s-
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         14.       Th    ity further br ached th·          A y ailing to pay i             ce1tified firefight · for    ;,:;
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\i   rk perform d in xcess of 99 hour p r pay period - i.e., twic th 49.5 "                            rage r gular     lll
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w rkwe k," at a rat of t l          t ne- and on -half tim           the specialty rat .
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         15.        he   ity's failur s     re kn vving and , illful.                                                   C
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         16.       The Pl intiff:   re not exempt from the o ertime wag pro i ion ofth FL"' .                           0
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         17.       Plaintiffs are uing the it in part, as an" pt-in"             llective acti n under 29 U . . C.      CD
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§ 21 b) on b hal f of alt who file a Con ent to ue                 nn with the ourt.                                    0,
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         18.       Plaintiffs seek r lief on a coll ctive basi          ballenging the       ity'    iolations of th

        and B       for failing to pay all overtim hour. w rked by certifi d firefighter at the pccialty

or c rtific ti n rate. The numb r and identity of other plaintiff: yet to pt in and consent to b

p rty plaintiffs may be det rmined from           it and IAFF L cal 42 r ord . Potential opt-in plaintiffs

may      notified of the pend nc          f this collective a tion.

               0         1-VIOLATIO OFTHEFAIRLABOR T NDARD A

          9.       Plaintiffs re-all ge and incorp rate by reference th                             contained in th

pr c ding paragraph as th ugh full              t fi rth h rein.

         20.       At all rel vant times, Plaintiff: ba e be n entitl d to the rights protections and

benefits provided und r the L A.

         21.                   regulates, among th r things, the payment of overtim t empl                        ees

who r      mplo ed pur uant t a collective bargaining agreem nt.




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       22.    Under § 207 ) of th FL A, fi refighter are not bound to a traditional 40-hour
                                                                                                    c....
                                                                                                    w
                                                                                                    ()
workweek. for the c lculation of ov rtime but instead may extend the relevant work p riod to 28     -;:,:;-
                                                                                                    (/)
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day to wit:                                                                                         ;:,;;
                                                                                                    w
                                                                                                    ::::s
                                                                                                    (/)

         o publi g -ncy shall be deemed t have violated sub ti n (a) with resp ct t                 w
                                                                                                    (/)


       the employm nt of an employee in fire protection activitie r any employee in                 Q.
       law enforcement a tivitie (including        urity personnel in correctional                  -<'
                                                                                                      I
                                                                                                    c....
       insti tution ) if--                                                                          w
                                                                                                    ::::s
                                                                                                    C:
                                                                                                    w
       (1) in a work period f2 8 con cutivc day th employee r cei     fort urs of duty              ~
                                                                                                    .....
         hich in th aggr g t e c d th lesser of A) 216 hours or ) the average                       0
                                                                                                    N
       num r of hours as d t rmined by the ecretar pursuant to section 6 )(3) of the                .....
                                                                                                    0

         air Labor tandard Amendm nt f 1974) in tours of duty f emplo e s engaged                   CD


       in such activities in work periods of28 c n ecutive days in l dar y ar 1975· or

       (2 in the case of such an mpl ee to whom a w rk period of at lea t 7 ut less
       th.an 28 d y applie , in his work ri d the mploye receive for tours of duty
       which in the aggr gate exceed a number of hours which b ar the rune ratio to the
       numbero consecutivedaysinhiswor peri d 216 hours (orifl w r, th number
         f h ur referred to in clau e (B) of paragraph (1)) bears to 28 day ...



       23.    The maximum-hours provision of the FL A pertaining t fir fighters, requir s

employer t p . any covered empl ye , "not J s than on and one-half times the regular rate at

which he is employ d. 11 29 U. . . § 207(k) ( mpha i added).

       24.    Pursuant to U. . D partment f Labor regulation and upreme ourt precedent,

the ''regular rate" of pay ·or FL A purpo e i an "actual fact 11 that "must be drawn from what

                                        II
happ ns under th employm nt contract         rather than fro   any a0 reement b tw n the employer

and employee. 29    .F . . § 778.108. " n      tb parti s have decided upon the amount f wag

and th m de of payment, the determination of the r gular rate becomes a matt r o mathematical

computation th re ult of which is unaffected by any de ignati n fa contrary, 'regular rat ' in a

wage contract.'' Wal/ingv. Youngerman-Reynold Hardwood o. 325             .. 419 (1945).




                                                 -6-

      Case 4:19-cv-00093-WBG Document 1-1 Filed 02/08/19 Page 8 of 13
       25.                   :ftuther provid      that "th    'regular rate' at which an employee i
                                                                                                             c....
                                                                                                             Q)
                                                                                                             (')
employ d hall bed emed to include all remuneration fi r empl yment paid t                                    7'
                                                                                                              CJ)
                                                                                                              0
                                                                                                              :::J

                                                                                                             ::,;;
                                                                                                              Q)
                                                                                                              :::J
                                                                                                              CJ)

       26.     Pursuant to the        A and the    BA, Plaintiff: ' "regular rate' includ         ialty or    Q)
                                                                                                              CJ)

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                                                                                                              ;:.:
                                                                                                             '<
c rtification pa .

       27.     The City iol t d the FL          by failing to pay th Plaintiffs for hour worked in
                                                                                                             ->.

e,   s ov r 216 hour in any 28-day work period at a rate of at le t ne and one-half tim               th     0
                                                                                                             N
                                                                                                             0
                                                                                                             ->.

Plaintiff: ' "regular rate " or th h urly rate actuall paid for the n n-o   rtime workweek for which         <D




 ucb firefight r were employed.

       28.      Plaintiffs ar entit.1 d to damages equal to the       BA mandated o ertime pay for

fir fighters \\,jth c rtifications, within th th:r e year preceding the filing of this ollective ction

P tition plus p riod of equ ·ta 1 toJling bee u          th    ity acted willfull           ·ng}y, or with

reckl ss disregard for wheth r its conduct wa prohibited by the L

        2 .     Plaintiffs ha e made multiple demand upon th             City       er many months for

reimbur ment of o ertime but th         it ha rep at dly failed and r fused to pa .

         0.     The ity ha not acted in go d faith r with reasonabl gr und t believ its action

and oml ion w re not a violati n o the FL A and as a re ult the Plaintiffs are nt' tled t r co er

an award ofliquidated damage in an am unt equal t the amount of un aid verti me pay p rm itt d

under the F    A.     ltematively   h uld the   ourt determine the    ity did not act willfull in failing

to pay overtim at the specialty rate, Plaintiff: are ntitled to an award o prejudgment inter tat

the applicable legal rat .

        31.     The     L A c ntain a fee-shifting statute, directing an award of payment of

attorney's fees and co ts by a defendant to a uc e ful plaintiff. ln addition, the FL A pro ide



                                                   -7-

       Case 4:19-cv-00093-WBG Document 1-1 Filed 02/08/19 Page 9 of 13
that a court "shaJI, in addition to any judg.m nt awarded to th plaintiff or plaintiffs all w a
                                                                                                               c....
                                                                                                               Q)
                                                                                                               ()
r a onable attorney's fee t b p id b th d fendant, and the cost of the acti n." 29 U. .                        7,
                                                                                                               en
                                                                                                               0
                                                                                                               ::J

216(b . Unlike olh r fi e-shifting    t tut   where the award of attome 's fc              and cost       1s   ;,:;:
                                                                                                               Dl
                                                                                                               ::J
                                                                                                               en
                                                                                                               Dl
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                                                                                                               c....
                                                                                                               Dl
                                                                                                               ::J
         2.     As a result of the aforementioned un1        I conduct by th              Plaintiffs ha        C
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                                                                                                               ->.

suffered and continu t suffi r damag      in an amount not presentl ascertainable.                             0
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        WHEREF RE Plaintiff: respectfully requ t judgment in th ir fav rand against the               ity      <D




for its L A iolatio      h r in and pray fo r c mp nsatory damage', liquidated damag , tt mey'

fee and cost as provid d under the FL         pre and p t-judgment interest and uch oth r reli f

as this Cour de m just and proper.

                               0 NTII-B          CH O CONTRA

        33.     Plaintiffs r -allege and incorporate by r fi .r nee the allegation        ntained in tb

pr eding paragraphs a th ugh fully s t forth herein.

        34.     On or about    ay 1 2015 Plaintiffs nter d into an employment contract with the

City, specifically, th   B .

         5.     Plaintiffs pro ided aluable consideration and hav sa i fied all f their obligati n

uod r the     BA.

         6.                      the ity promised t     ay Plaintiffs at a rate of at I   t one and one-

h lf times th specialty rate£ r w r p rfonned in exc            · 212 hours per 28-da work p riod

and in excess of 99 h ur per r gular pa         eriod. The     ity failed to uphold its promi e and

breached the BA.




                                                 -8-

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       37.     Each of the ity' ii iJur     herein are m t ri l reache of the     and have cau d
                                                                                                    c....
                                                                                                    Dl
                                                                                                    (')
Plaintiffs to suffer damages including und 1pa ment of overtime      age .                          "0en
                                                                                                    ::J

       WHEREFO              laintiff r pectfull requ t judgment in their favor and against the it   ;,;;
                                                                                                    Dl
                                                                                                    ::J
                                                                                                     en
                                                                                                    Dl
for its breach of th       BA herein and pray for compensatory damages, liquidated damag             en
                                                                                                    ()
                                                                                                    ~
att rney' fees and costs, pre an p t-judgm nt inter t and uch other relief as this      urt de ms
                                                                                                     c....
                                                                                                    Dl
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ju t and proper.                                                                                    Dl
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                                   0 1MA DFOR                                                       0
                                                                                                    N
                                                                                                    0
                                                                                                    _.
                                                                                                    <D
         8.        laintiffs demand a trial b jury.


                                                R spectfull submitted




                                                Jo
                                                Raymond E. alva, Jr.




                                                ATTORNEY FOR PLA        TlFF




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             IN THE CIRCIDT COURT OF JACKSON COUNTY, MISSOURI
                              AT KANSAS CITY

CRAIG ADAMS ET AL

                       PLAINTIFF(S),                          CASE NO. 1916-CV01667
vs.                                                           DIVISION 15

CITY OF KANSAS CITY, MISSOURI,

                       DEFENDANT(S),

         NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION


        NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable JALILAH OTTO on 29-APR-2019 in DIVISION 15 at 09:00 AM. All Applications
for Continuance of a Case Management Conference should be filed on or before Wednesday of the
week prior to the case management setting. Applications for Continuance of a Case Management
Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1. Continuance of a Case
Management Conference will only be granted for good cause shown because it is the desire of the
Court to meet with counsel and parties in all cases within the first 4 months that a case has been on
file. All counsel and parties are directed to check Case.NET on the 16th Judicial Circuit web site at
www. l 6thcircuit.org after filing an application for continuance to determine whether or not it has
been granted.

        A lead attorney ofrecord must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel , even in situations where there is only one attorney representing the party, ns will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown inns. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

       a.      A trial setting;
        b.     Expert Witness Disclosure Cutoff Date;
       c.      A schedule for the orderly preparation of the case for trial;
       d.      Any issues which require input or action by the Court;
       e.      The status of settlement negotiations.



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                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

       The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                   POLICIES/PROCEDURES
       Please refer to the Court' s web page www. l 6thcircuit.org for division policies and
procedural information listed by each judge.


                                              ISi JALILAH OTTO
                                              JALILAH OTTO, Circuit Judge


                                         Certificate of Service
         This is to certify that a copy of the foregoing was mailed postage pre-paid or hand
delivered to the plaintiff with the delivery of the file-stamped copy of the petition. It is further
certified that a copy of the foregoing will be served with the summons on each defendant named
in this action.

Attorney for Plaintiff(s):
RAYMOND EUGENE SALVA, 221 WEST LEXfNGTON AVENUE, SUITE 200,
INDEPENDENCE, MO 64050

Defendant(s):
CITY OF KANSAS CITY, MISSOURI

 Dated: 18-JAN-2019                                           MARY A. MARQUEZ
                                                              Court Administrator




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